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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


Daian Onaka, et al.,                                    )
                                                        )     Case No. 1:21-cv-10665-PAC
                       Plaintiffs,                      )
                                                        )
                                                        )     Hon. Paul A. Crotty
       v.
                                                        )
                                                        )
Shiseido Americas Corporation,                          )
                                                        )
                       Defendant.                       )


                 DEFENDANT SHISEIDO AMERICAS CORPORATION’S
                     NOTICE OF SUPPLEMENTAL AUTHORITY
       Defendant Shiseido Americas Corporation (“Shiseido”) respectfully gives notice of the

following supplemental authorities in support of Shiseido’s Motion to Dismiss plaintiff’s First

Amended Complaint pursuant to Federal Rules of Civil Procedure 12(b)(1) and (6). Each of the

three authorities referenced below became available after the Motions were fully briefed.

       In the first attached authority, Exhibit A, Dalewitz v. The Procter & Gamble Company,

7:22-CV-07323 (S.D.N.Y.), this District granted with prejudice a motion to dismiss a false

advertising case premised on a plaintiff’s organic fluorine testing and alleged PFAS in dental floss.

The court held that the plaintiff’s organic fluorine testing is insufficient to state a plausible claim

under New York false advertising laws, because such a test is only a “proxy” for PFAS and the

plaintiff fails to allege the presence of “specific” PFAS. The exact same issues are present in this

case and are raised in Shiseido’s pending motion to dismiss.

       The second attached authority, Exhibit B, GMO Free USA d/b/a Toxin Free USA v. The

Procter & Gamble Company, Case No. 2022, CA 4128B (Superior Court of the District of

Columbia), also granted with prejudice a motion to dismiss a false advertising case premised on

alleged undisclosed PFAS in dental floss. In dismissing the case, the court held that: (1) the

plaintiff failed to identify any particular form of harmful PFAS in the product, and the presence of

PTFE (a form of PFAS) could not support the claim because plaintiff did not plausibly plead a risk



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associated with it; and (2) because plaintiff failed to plausibly plead that the product contained any

harmful form of PFAS, claims related to safety and the environment were not misleading to a

reasonable consumer. This authority is relevant because Plaintiffs here have also failed to plead

that any particular forms of harmful PFAS are present in the makeup products or identify any

actionable marketing claims.

          In the third attached authority, Exhibit C, Hicks, et al. v. L’Oréal U.S.A., Inc., this District

granted a motion to dismiss a false advertising case alleging the presence of undisclosed PFAS in

makeup products, including L’Oréal Paris and Maybelline mascara products. The Hicks plaintiffs

argued that statements such as “ophthalmologist and allergy tested,” “[s]uitable for sensitive eyes,”

and “[t]ested under dermatological control for safety” were false or misleading because, according

to plaintiffs, the products contained PFAS based on the results of the Notre Dame study and the

plaintiffs’ own third party testing of the relevant products. In dismissing the amended complaint,

Judge Cronan held that the Hicks plaintiffs failed to allege standing because they “have not

adequately pleaded that the mascaras they purchased contained PFAS nor that there was a material

risk thereof,” finding that “[t] The Amended Complaint’s allegations boil down to describing

general and unspecific results of testing, without meaningfully linking those results to Plaintiffs’

actual Purchased Products beyond Plaintiffs’ ‘information and belief.’” Plaintiffs in this case rely

on the same general and unspecific testing allegations that cannot confer standing to pursue their

claims.


 Dated: October 10, 2023                           Respectfully submitted,

                                                   /s/ Lori B. Leskin
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                               CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that the foregoing filing was served upon

counsel of record via the Court’s CM/ECF electronic filing system on October 10, 2023.

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